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     IN THE UNITED STATES DISTRICT COURT
     FOR THE DISTRICT OF COLORADO

     Civil Action No. 22-CV-

     STEVEN DANIEL FELIX

                                    Plaintiff,

     v.

     3533 DURANGO, LLC

                             Defendant.
     ________________________________________________________________________

                                   COMPLAINT
     ________________________________________________________________________


            Plaintiff STEVEN DANIEL FELIX (“Plaintiff” or “Mr. FELIX”), by and through

     his attorney, as and for his complaint against Defendant 3533 DURANGO, LLC

     (“Defendant”), alleges as follows:

                                                 I. CLAIM

            1.      Mr. FELIX, a person with a physical disability and significant

     impairments, brings this action for declaratory and injunctive relief, attorney’s fees, costs,

     and litigation expenses against Defendant for violations of Title III of the Americans with

     Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

     Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

             2.     Defendant refused to provide Mr. FELIX and others similarly situated

     with sufficient ADA-compliant parking in the parking lot that serves SKI BARN. At the

     Durango location, there is no ADA-compliant van-accessible space on the shortest access

     route to the main entrance. There is no disabled parking.

             Based on these facts, Defendant has denied Mr. FELIX the ability to enjoy the


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     goods, services, facilities, privileges, advantages, and accommodations at SKI BARN.


                               II. JURISDICTION AND VENUE

            3.      This Court has subject matter jurisdiction over this action pursuant to 28

     U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

     Act of 1990, 42 U.S.C. §12101, et seq.

            4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

     events complained of occurred in Durango, Colorado, where the SKI BARN business is

     located.


                                            III. PARTIES

            5.      Plaintiff STEVEN DANIEL FELIX is an honorably discharged U.S.

     Army veteran who served in Iraq, Afghanistan and South Korea. As a result of his

     service, Mr. Felix is 100% disabled, as established by the Federal government and the

     Veteran’s Administration. Mr. Felix has Disabled Veteran license plates on his vehicle as

     issued by the State of Colorado. Mr. Felix has significant impairments and is a “qualified

     individual with a disability” within the meaning of ADA Title III.

            6.      Defendant 3533 DURANGO, LLC owns, manages, controls, and leases

     the improvements and building where the SKI BARN is situated. The address of SKI

     BARN is 3533 Main Ave, Durango, CO 81301. The business is a place of public

     accommodation, operated by a private entity, whose operations affect commerce within

     the meaning of Title III of the ADA.

            7.      Defendant 3533 DURANGO, LLC is the owner of the property.

     Defendant is a domestic limited liability company whose headquarters is 3533 Main Ave,




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     Durango, CO 81301. Defendant can be served process via service to its Registered

     Agent: William Denis Brown at 3533 Main Ave, Durango, CO 81301.


                                 IV. FACTUAL BACKGROUND

            8.      SKI BARN is a business establishment and place of public

     accommodation in Durango, Colorado. SKI BARN is situated on real estate, property,

     and improvements owned, controlled, managed, and leased out by 3533 DURANGO,

     LLC.

            9.      SKI BARN is not accessible to disabled individuals because it has zero

     ADA-compliant van-accessible parking spaces near the main entrance. At the Durango

     location, there is no ADA-compliant van-accessible space (96” space with 96” side

     access aisle) on the shortest access route to the main entrance. There is no disabled

     parking.

            10.     Pictures taken at the location prove this:




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     SKI BARN business in Durango, CO. There is no ADA-compliant van-accessible space
     (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.




     SKI BARN business in Durango, CO. There is no ADA-compliant van-accessible space
     (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.


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     SKI BARN business in Durango, CO. There is no ADA-compliant van-accessible space
     (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.




     SKI BARN business in Durango, CO. There is no ADA-compliant van-accessible space
     (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
     disabled parking.


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            11.     The Plaintiff went to SKI BARN property in September of 2022.

            12.     In encountering and dealing with the lack of an accessible facility, the

     Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

     and equal access to facilities, privileges and accommodations offered by the Defendant.

     Plaintiff intends to return to SKI BARN. By not having an ADA-compliant parking area,

     the Plaintiff’s life is negatively affected by not being able to safely access the location.

     This causes the Plaintiff depression, discomfort, and emotional stress and the Plaintiff is

     prevented from resuming a normal lifestyle and enjoying access to businesses in his area.

            13.     Additionally, on information and belief, the Plaintiff alleges that the

     failure to remove the barrier was intentional because: (1) this particular barrier is intuitive

     and obvious; (2) the Defendant exercised control and dominion over the conditions at this

     location and, therefore, the lack of accessible facilities was not an “accident” because

     Defendant intended this configuration; (3) Defendant has the means and ability to make

     the change; and (4) the changes to bring the property into compliance are “readily

     achievable.”

             14.    The Defendant’s Durango location does not have the required number of

     ADA parking spaces. With 1-25 parking spaces, Defendant must have one ADA-

     compliant van-accessible space (96” wide with 96” side access aisle) with a sign. This

     space must be located on the shortest accessible route to the main entrance of the

     business. See pictures above.

            15.     At the Durango location, there are no ADA-compliant van-accessible

     spaces on the shortest access route to the main entrance. There is no disabled parking on

     the property whatsoever.

            16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been


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     federal law for 30 years. This is a blatant violation of the ADA.


               V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                   WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

             17.     Plaintiff repleads and incorporates by reference, as if fully set forth at

     length herein, the allegations contained in all prior paragraphs of this complaint.

             18.     Under the ADA, it is an act of discrimination to fail to ensure that the

     privileges, advantages, accommodations, facilities, goods and services of any place of

     public accommodation are offered on a full and equal basis by anyone who owns, leases,

     or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination

     is defined, inter alia, as follows:

                     a.      A failure to make reasonable modifications in policies, practices,

             or procedures, when such modifications are necessary to afford goods, services,

             facilities, privileges, advantages, or accommodations to individuals with

             disabilities, unless the accommodation would work a fundamental alteration of

             those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                     b.      A failure to remove architectural barriers where such removal is

             readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

             reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix D.

                     c.      A failure to make alterations in such a manner that, to the

             maximum extent feasible, the altered portions of the facility are readily accessible

             to and usable by individuals with disabilities, including individuals who use

             wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

             the altered area and the bathrooms, telephones, and drinking fountains serving the



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            altered area, are readily accessible to and usable by individuals with disabilities.

            42 U.S.C. § 12183(a)(2).

            19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

     Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

     Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

     Defendant must have at least one ADA-compliant van-accessible space (96” wide with

     96” side access aisle) near the business entrance.

            20.     Here, the Defendant did not provide a sufficient number of ADA-

     compliant parking spaces in its parking lot, although doing so is easily and readily done,

     and therefore violated the ADA. At the Durango location, there are no ADA-compliant

     van-accessible spaces on the shortest access route to the main entrance. There is no

     disabled parking on the property whatsoever.


                                       VI. RELIEF REQUESTED

     Injunctive Relief

            21.     Mr. FELIX will continue to experience unlawful discrimination as a result

     of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so he and

     all individuals with disabilities can access the Defendant’s property equally, as required

     by law, and to compel Defendant to repave and restripe the parking lot to comply with

     the ADA. Injunctive relief is also necessary to compel Defendant to keep the property in

     compliance with federal law.



     Declaratory Relief

            22.     Mr. FELIX is entitled to declaratory judgment concerning Defendant’s



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     violations of law, specifying the rights of individuals with disabilities to access the goods

     and services at the Defendant’s location.

               23.   The facts are undisputed and Defendant’s non-compliance with the ADA

     has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

     violations by the Defendant.



     Attorney’s Fees and Costs

               24.   Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

     costs, pursuant to 42 U.S.C. §12205.



                                    VII. PRAYER FOR RELIEF

               THEREFORE, Mr. FELIX respectfully requests this Court award the following

     relief:

               A.    A permanent injunction, compelling Defendant to comply with the

     Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

     from discriminating against Mr. FELIX and those similarly situated, in violation of the

     law;

               B.    A declaratory judgment that Defendant’s actions are a violation of the

     ADA;

               C.    Find that Mr. FELIX is the prevailing party in this action, and order

     Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

               D.    Grant such other and additional relief to which Plaintiff may be entitled in

     this action.




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        DATED: October 10, 2022         Respectfully,

                                  By:   /s/ R. Bruce Tharpe
                                        R. Bruce Tharpe

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